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4
5    Attorney for Defendant JOSMAN WILLIAMS
6
7                        IN THE UNITED STATES DISTRICT COURT
8                           EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,        ) CASE NO. CRS 08-091 MCE
                                      )
11                  Plaintiff,        ) STIPULATION AND ORDER CONTINUING
                                      ) STATUS CONFERENCE
12        v.                          )
                                      )
13   JOSMAN WILLIAMS,                 )
                                      )
14                  Defendant.        )
                                      )
15   ________________________________ )
16
17                                     STIPULATION
18             It is hereby stipulated by and between the parties hereto
19   through their respective counsel that the status conference presently
20   scheduled for Thursday, October 2, 2008, be continued one week to
21   Thursday, October 9, 2008 at 9:00 a.m.
22             The parties further stipulate that the time included in this
23   continuance be excluded pursuant to Speedy Trial Act, 18 U.S.C. Section
24   3161(h)(8)(B)(ii)(Local Code T4) through October 9, 2008 due to
25   ////
26   ////
27   ////
28   ////
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1    complexity of the case and in the interest of justice and negotiations
2    in reference to settlement.
3
4              Dated:   October 1, 2008
5
6                               /s/ Mr. MATTHEW STEGMAN, Esq. (By RMH)
                                Mr. MATTHEW STEGMAN, Esq.
7                               Assistant United States Attorney
                                Counsel for the United States
8
9
10                              /s/ Mr. Robert M. Holley, Esq.
                                Mr. Robert M. Holley, Esq.
11                              Counsel for Mr. JOSMAN WILLIAMS
12
13
                                          ORDER
14
15             GOOD CAUSE APPEARING, the above requested calendaring change,
16   and stipulation re: the exclusion of time pursuant to the Federal
17   Speedy Trial Act, are SO ORDERED.
18
     Dated: October 6, 2008
19
20                                       _____________________________
                                         MORRISON C. ENGLAND, JR.
21
                                         UNITED STATES DISTRICT JUDGE
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